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                     EXH. 8
Case 3:17-cv-00072-NKM-JCH Document 263-8 Filed 03/14/18 Page 2 of 3 Pageid#: 1796

                              jon Hushed
                               Ohio Secretary of State
                              180 East Broad Street, 16th Floor
                              Columbus, Ohio 43215
                              Tel; (877)767-6446 Fax:(614)644-0649
                              www.OhioSecretaryofState.gov


                                         Notice of Receipt




      Date of Service: 2/22/2018                          Case Number: 3:17-cv-0072 NFM


                           Elizabeth Sines et al VERSUS Jason Kessler et al


      The Secretary of State of Ohio received service of process, notice or demand as the
      statutory agent for Moonbase Holdings, LLC at P. O. Box 208, Worthington, OH,43085
      under Section 1705.06 ofthe Ohio Revised Code. Service was forwarded via certified
      mail to any available address of the company and the address set forth in the affidavit.

                                                         Sincerely,


                                                        ~~, a
                                                         Jon Husted
                                                         Secretary of State




      lmf
      9624
Case 3:17-cv-00072-NKM-JCH Document 263-8 Filed 03/14/18 Page 3 of 3 Pageid#: 1797




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                                                                                     180 E. Broad Street, 16th Floor
                                                                                     Columbus, Ohio 43215
                                                                                                                                                 Cooley LLP
                                                                                                                                                 Robert T. Cahill
                                                                                                                                                 1 1951 Freedom Drive
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